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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                           Case No. 8:11-CR-323-T-17TBM

 RETSIDISTSWE GRIFFITH.
 ______________________________/

                             FINAL JUDGMENT OF FORFEITURE

       THIS CAUSE comes before the Court upon the United States’ Motion for a Final
 Judgment of Forfeiture (Doc. 686), pursuant to 21 U.S.C. § 853 and Rule 32.2(c)(2) of the
 Federal Rules of Criminal Procedure, for a 2010 Black Land Rover, Range Rover Sport,
 Vehicle Identification Number SALSK2D48AA249887.


       On November 10, 2014, the Court entered a $274,400.00 Forfeiture Money Judgment
 and a Preliminary Order of Forfeiture for the asset described above, pursuant to 21 U.S.C. §
 853. Doc. 605.


       The Court finds that in accordance with 21 U.S.C. § 853(n) and Rule 32.2(b)(6)(C),
 the United States published notice of the forfeiture and of its intent to dispose of the asset
 on the official government website, www.forfeiture.gov, from November 13, 2014 through
 December 12, 2014. Doc. 668. The publication gave notice to all third parties with a legal
 interest in the asset to file with the Office of the Clerk, United States District Court, Middle
 District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North Florida Avenue,
 Tampa, Florida 33602, a petition to adjudicate their interest within 60 days of the first date of
 publication.


        The Court further finds that, no person, other than the defendant Griffith,
 whose interest was forfeited to the United States in the Preliminary Order of Forfeiture, is
 known to have an interest in the asset. No additional party has filed a petition or claimed an
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 interest in the asset, and the time for filing a petition has expired.


       Accordingly, it is hereby:


       ORDERED, ADJUDGED and DECREED that for good cause shown, the United
 States’ motion is granted.


       It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7) and Federal Rule of
 Criminal Procedure 32.2(c)(2), all right, title and interest in the asset identified above is
 CONDEMNED and FORFEITED to the United States for disposition according to law.


       Clear title to the asset is now vested in the United States of America.


       DONE and ORDERED in Chambers in Tampa, Florida, on this 15th day
 of January, 2015.




 Copies to:
 Natalie Hirt Adams, AUSA
 Counsel of Record




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